    Defendants’ Amended Responses to Plaintiffs’ Requests for
                Admission, Served May 13, 2014

                                          and

    Plaintiffs’ Requests for Admission and Attached Documents,
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